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                               UNITED STATBS DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    GENERAL ORDER 19-0025

       Pursuant that to the Executive Committee Order entered on August 9,2019 the civil cases on the attached list
have been selected for reassignment to form the initial calendar of the Honorable Martha M. Pacold; therefore

        IT IS HEREBY ORDERED that the attached list of 342 cases be reassigned to the Honorable Martha M.
Pacold; and

        IT IS FURTHER ORDERED that all parties affected by this Order must review the Honorable Martha M.
Pacold's webpage on the Court's website for the purpose of reviewing instructions regarding scheduling and case
management procedures; and

        IT IS FURTHER ORDERED that any civil case that has been reassigned pursuant to this Order will not be
randomly reassigned to create the initial calendar of a new district judge for twelve months from the date of this
Order; and

       IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Martha M. Pacold to
the Court's civil case assignment system during the next business day, so that she shall receive a full share of such
cases; and

        IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Martha M. Pacold to
the Court's criminal case assignment system thirty days from the entry of this Order so that she shall receive a full
share ofsuch cases.




                                                       ENTER:

                                     FOR THE EXECUTIVE COMMITTEE




       Dated at Chicago, Illinois this
                                         23',t y of August,2019
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Civil   Cases Reassigned to Judge Pacold          from Judge Alonso

  1:15-cv-10791    Tolbert v. Gurski
  I:75-cv-17746    Miller v. Lake County Jail et al
  1:16-cv-10015    Powell v. Pfister
  7:77-cv-O1279    Murillo v. United States of America
  7:17-cv-O5763    Laborers' Pension Fund et al v. SCG Maintenance lnc.
  1:17-cv-07505    Price v. Lyons
  1:18-cv-01649    Barnes v. Tatonchi
  1:L8-cv-02699    Barnes v. Cook County Juvenile Temporary Detention Center
  1:18-cv-04364    Mallory v. Rush University Medical Center
  1:18-cv-05195    Flores v. Saul
  !:L8-cv-06242    Wells v. Chicago Board of Education et al
  1:18-cv-07036    Teamsters Local Union No.727 Health & Welfare Fund et alv. Cremation Society of lllinois, lnc. et al
  1:18-cv-08380    Fisher v. Village of Bellwood, The et al
  L:19-cv-01683    Waston v. Reliance Standard Life lnsurance Company
  L:19-cv-02591    Danielv. Dart et al
  1:19-cv-04549    Management Technology Development Group, lnc. v. The Nielsen Company (US),        LLC


Civil   Cases Reassigned to Judge Pacold          from Judge Blakey

  1.:16-cv-01086   Gavin/Solmonese      LLC   v. Kunkel
  1:15-cv-07660    Richter v. Pfister
  L:17-cv-O5275    Wilkerson v. Watson
  1:L7-cv-068L5    Equal Employment Opportunity Commission et al v. Rosebud Restaurants, lnc.
  1:18-cv-00608    Simenson v. Joliet et al
  1:18-cv-02332    Walker v. Obaisi et al
                    !:18-cv-07254 Walker v. Obaisi
  1:18-cv-04553    Domingo v. Wooden et al
  1:1.8-cv-05108   Davis v. The City of Elgin et al
  L:L8-cv-06747    Dubrovay v. The Wirbicki Law Group, LLC et al
  1:L8-cv-07524    George v. Monterrey Security Consultants et al
  1:18-cv-08385    Mandelv. SEIU Local 73 et al
  L:19-cv-01205    Von Ribbeck v. Negroni
  1:19-cv-025L3    AL Media, LLC et alv. Williams
  1:19-cv-03601    Foote v. Cook County Department of Corrections et al
  1:19-cv-04258    Strike 3 Holdings, LLC v. Doe
  1:19-cv-04893    Plitek L.L.C. v. MBM Sas

Civil   Cases Reassigned to Judge Pacold          from Judge Bucklo

  1:15-cv-08402    Ortega et al v. United States of America et al
  1:16-cv-10305    Barker v. Obaisi et al
  t:L7-cv-O4357    Toy v. Beckway et al
  \:t7-cv-O7!35    Carr v. Cook County et'al
  \:78-cv-02679    Mays v. Pfister et al
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  1:18-cv-03467    Angus et al v. Harsy et al
  l.:L8-cv-05925   Ercoli v. Target Corporation et al
  1:18-cv-06524    Nanduri v. Gogo lnc. et al
  1:18-cv-06547    Hutsenpiller v. Small et al
  1:18-cv-08431    Wierzbicki v. United Airlines
  1:18-cv-08351    McNicholv. Aurora Bank, FSB et al
  1:19-cv-O1858    Reyna v. Kyle
  L:19-cv-02323    Arch Specialty lnsurance Company v. Koch Foods lnc.
  L:19-cv-03005    Saracco v. FedEx Corporate Services, lnc.
  1:19-cv-03134    Hendricks v. Bailey Trucking, lnc. et al
  7:79-cv-041L4    Laborers' Pension Fund et al v. Abari Construction, lnc.
  7:19-cv-O462L    R   Midwest, lnc. et alv. Shell Oil Products   US   et al

Civil   Cases Reassigned to Judge Pacold        from Judge Castillo

  1.:!7-cv-06949   Serio v. Williams
  1:18-cv-03792    Griffin et al v. Cook County et al
  1.:18-cv-07468   Cora v. Tootsie Roll Mfg, LLC et al
  1:19-cv-01321    Pittsfield Development LLC et al v. Lynd
  1:19-cv-02945    Bashiru v. Radius Global Solutions LLC
  1:19-cv-03506    Mitchellv. Anderson et al
  1:19-cv-04430    Vaughn v. Washington National lnsurance Company
  1:19-cv-04988    Gilbert v. l.C. System, lnc.

Civil   Cases Reassigned to Judge Pacold        from Judge Chang

  1.:11-cv-00183   Lee v. Williams, et al
  1:L6-cv-08855    Ford v. Mateo
  1:16-cv-08591    Dunn v. Chicago Transit Authority
  1:17-cv-06051    Duarte v. Convergent Outsourcing, lnc. et al
  1:17-cv-06636    Kelley et al v. BT Bourbonnais, LLC et al
  1:18-cv-02338    Citadel Enterprise Americas    LLC   et al v. Citadel Capital et al
  1:18-cv-01449    Tyler v. Pfister
  1:18-cv-05127    McNairy v. Chicago
  1:18-cv-05010    Silver Betty, lnc. v. Technology Training Systems, lnc. et al
  1:18-cv-06964    Turner Tennenbaum v. Great Northern lnsurance Company et al
  1:18-cv-08450    Smylie v. Berwyn North School D.98
  L:19-cv-01436    Richardson v. Franciscan Outreach Association et al
  L:!9-cv-O2743    Gross et al v. Chapman et al
  1:19-cv-03148    Klein v. Arora et al
                     1:19-cv-01323 West Palm Beach Firefighters' Pension Fund v. Conagra Brands, lnc. et al
                     1:19-cv-04881 Opperman v. Conagra Brands, lnc. et al
                     1:19-cv-05299 Dahl v. Conagra Brands, lnc. et al
                   The Maya Group, lnc. v. The Partnerships and Unincorporated Associations
  t:t9-cv-04432    ldentified on Schedule "A"
  1:19-cv-05028    Roor lnternational BV et al v. Smoke & Vape et al
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Civil   Cases Reassigned to Judge Pacold     from Judge Coleman

  1:15-cv-03529 Medline lndustries, lnc. v. C.R. Bard, lnc.
  1:L6-cv-0674L Johnson v. Butler
  1:17-cv-03015 The Segerdahl Corp. v. Ferruzza et al
  1:17-cv-03595 RTC lndustries, lnc. v. Fasteners for Retail, lnc.
  1:17-cv-08067 Gress v. Regional Transportation Authority et al
  1:17-cv-08563 Sanders v. Cangiolos et al
  L:!8-cv-O2!2t    Canada v. Hallet al
  1:18-cv-02830 Guerino v. Lerette et al
  1:18-cv-05260 Mleziva v. GlaxoSmithKline    LLC

  t:L8-cv-06757 Roe v. Nano Gas Technologies,       lnc.
  1:19-cv-00103 Patelv. Om Gayatri, lnc. et al
  1:19-cv-02033 Murphy v. Dart et al
  L:79-cv-O3274 Tribble v. Stateville NRC et al
  1:19-cv-03697 Strike 3 Holdings, LLC v. Doe subscriber assigned lP address 24.L3.187.L2
  L:19-cv-O44L2 NBA Properties, lnc. et alv. The Partnerships and Unincorporated Associations ldentified on Schedule "A"
  1:L9-cv-05084 Knowlesv. Shinola/Detroit, LLC

Civil   Cases Reassigned to Judge Pacold     from Judge Dow

  1:10-cv-01522 Hernandez v. Cottrell, lnc.
  L:Lt-cv-O5226 Langer v. Board Of Education of The City Of Chicago
  1:L4-cv-07583 Rotter v. Elk Grove Village et al
  1:14-cv-08708 Van et al v. Ford Motor Company
                   L:1.8-cv-04018 Faron v. Ford Motor Company
                   1:19-cv-03827 Campbellv. Ford Motor Company
  1:16-cv-05871 Rogers v. City Of Harvey et al
  1:16-cv-08610 Lee v. Hanjin lntermodal America, lnc. et al
  7:17-cv-02937 VYSE Gelatin Company v. Hicks et al
  t:L7-cv-O78O2 Bidirelv. UPS lnc. et al
  L:L8-cv-OL577 Chandler v. Ulta Beauty, lnc. et al
                   1:18-cv-03505 Sbriglio v. Philippin et al
                   1:18-cv-04137 Zamarin v. Dillon et al
  1:18-cv-03733 Brinson v. Eagle Express Lines, lnc.,
  1:18-cv-05317 Amerisure Mutual lnsurance Company v. Ace American lnsurance Company et al
  1:18-cv-08508 Sharifeh et al v. Fox Jr.
  1:19-cv-01218 Ghebari v. National Gas and Electric, LLC et al
  L:L9-cv-O2L22 Calusinskiv. Austin et al
  1:19-cv-03048 Equity Trust Company Custodian v. Windwrap, LLC
  1:19-cv-03746 Johnson v. Midland Funding LLC et al




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Civil   Cases Reassigned to Judge Pacold   from Judge Durkin

  1:L4-cv-07417 Peerless Network, lnc. et alv. MCI Communications Services, lnc. et al
  1:15-cv-05433 Salerno v. County Employees' and Officers' Annuity and Benefit Fund of Cook County et al
                                     Budlove v. The County Employees'and Officers'Annuity and
                     1:15-cv-06436 Benefit  Fund ofCook County et al
  1:16-cv-07668 Baker v. Obasi et al
  1:17-cv-00808 Gnutek v. lllinois Gaming Board et al
  7:77-cv-05767 Local727 Teamsters Local Union No.727 Pension Fund et al v. Mid-City Parking
  7:77-cv-06882 Monco v. Zoltek Corporation et al
  1:18-cv-00858 Gomez v. Focal Point LLC
  1:18-cv-01873 Berkenhoff GmbH v. Opec Engineering Co., Ltd. et al
  1:18-cv-05215 Brown v. Melvin
  1:18-cv-05895 Las Cola v. SSC Westchester Operating Company LLC
  1:18-cv-07525 CouponCabin, lnc. v. PriceTrace, LLC
  1:19-cv-00509 Hennigan v. CapitalOne Auto Finance, lnc.
  1:19-cv-01985 Chao Seminars, lnc. v. Power Dental U.S.A. lnc.
  1:19-cv-03520 Du Four et al v. City of Crete et al
  1:19-cv-04085 Miscellaneous Warehousemen's Local781 Health & Welfare Fund v. Ashland Cold Storage        Co.
  1:19-cv-04920 Dickens v. Tek-Collect lncorporated

Civil   Cases Reassigned to Judge Pacold   from Judge EIIis

  1:15-cv-10554 Sailsbery v. Village of Sauk Village et al
  1:16-cv-09639 Allstate lnsurance Company et al v. Electrolux Home Products, lnc
                   1:19-cv-03304 Allstate lnsurance Company v. Electrolux Home Products, lnc.
  L:L7-cv-03042 Zavala v. Damon et al
  1:17-cv-05991 Falcon et al v. City of Chicago, et al
  7:17-cv-07876 Rucker v. Kallman et al
  1:18-cv-00509 Nachampassack v. lllinois State Toll Highway Authority
  1:18-cv-02578 Gordon v. Brennan
  1:18-cv-03563 Edwards v. Avlon lndustries lnc
  1:18-cv-05594 Jibson v. Northeast lllinois Regional Commuter Railroad Corp. dlb/a METRA
  1:18-cv-06169 Kolesnikova v. Village of Vernon Hills et al
  1:18-cv-07201 Juul Labs, lnc. v. Vapor 4 Life Holdings, lnc.
  1:18-cv-07700 Brown v. Magnum Transportation, lnc
  1:19-cv-02543 Bobrowicz v. Viskase Companies, lnc.
  L:79-cv-O3327 Wilbourn v. Chicago et al
  1:19-cv-04011 Barlow v. Dorethy et al
  1:19-cv-04798 Hernandez v. Saul

CivilCases Reassigned to Judge Pacold from Judge Feinerman
  1:14-cv-06480 Richter v. Obaisi
  L:17-cv-O2552 Brand v. Murawskiet al
  L:17-cv-O4451 Mohr v. WeatherTech
  1:18-cv-00528 Spencer v. Village of Arlington Heights et al
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  1:18-cv-01053 Styles v. Cassidy et al
  1:18-cv-04995 Brubaker v. Hartford Life & Accident lnsurance Company
  1:18-cv-05377 Waters v. City of Joliet et al
  1:18-cv-07213 Wilbourn v. Health Consultants lncorporated
  1:18-cv-07552 Wooding v. Northerwester Memorial Healthcare Corporation et al
  1:19-cv-00395 Robinson et al v. Chicago State University et al
  1:19-cv-00778 Auto Logistics of Atlanta, lnc. et al v. Auto Driveaway Richmond, LLC
  1:19-cv-02028 Spiezer v. Dickler, Kahn, Slowikowski and Tavell, Ltd et al
  L:!9-cv-O2L92 Aguirre v. Allied Waste Transportation, lnc.
  1:19-cv-03040 Stokes v. University Club Of Chicago et al
  1:19-cv-03856 Doe v. Wolcott Diversey Condominium Association et al
  1:L9-cv-04789 Monteleone v. Village of Carpentersville

Civil   Cases Reassigned to Judge Pacold      from Judge Gettleman

  1:13-cv-09328    Donado v. Randle et al
  L:77-cv-OO2L2    Frison v. Obassiet al
  t:17-cv-O1542    Friends for Health: Supporting The North Shore Health Center et al v. PayPal, lnc. et al
  1:17-cv-08661    De La Cruz v. Metro Link lL, LLC
  1:17-cv-08696    Fulton v. Foley et al
                     1:18-cv-00998 Coleman v. City of Chicago et al
  1:18-cv-02880    Chatman et al v. Dibiase et al
  1:18-cv-03231    Arteaga v. Hammers et al
  1:18-cv-05590    Baskin v. Ross et al
  1:18-cv-06054    Palmer v. City of Chicago et al
  \:t8-cv-O72t7    Fromageries BelS.A. et alv. Emmi Roth USA, lnc.
  L:L8-cv-07627    Niemeyer v. Village of Hinsdale
  1:19-cv-00616    TCF  lnventory Finance, lnc. v. American River RV, lnc. et al
  1:19-cv-01761    Taylor v. Lawrence
  1-:L9-cv-O2749   Williams v. Village of Bensenville et al
  L:L9-cv-03672    Bucciniv. WalMart
  1:19-cv-04595    Ramirez vs. G4S Security Solutions (USA), lnc.

Civil   Cases Reassigned to Judge Pacold      from Judge Gottschall

  7:1O-cv-O17O7 Jacks et al v. DirectSat USA, LLC. et al
  1:16-cv-04837 Dilworth v. SmartPay Leasing, lnc.
  1:17-cv-01099 Brent-Bell v. City of Chicago et al
  L:17-cv-O9254 Bodo et alv. McAleenan et al
  1:18-cv-00888 Sanchez v. Car Outlet AC, LLC et al
  1:18-cv-07151 Rice v. National Beverage Corporation dlbla       LaCroix Sparkling Waters




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Civil   Cases Reassigned to Judge Pacold        from Judge Guzman

  1:18-cv-04328     Maenza v. UChicago Argonne      LLC

  1:19-cv-00471    Castro et al v. Dart et al
  1:18-cv-06229    Cincinnati lnsurance Co. v. Marino et al
  1:18-cv-07818    Johnson et alv. Weltman, Weinberg & Reis Co., L.P.A. et al
  7:19-cv-07276    Gryga v. Henkles & McCoy Group, lnc. et al
  7:19-cv-02247    Calhan v. Menard, lncorporated
                   Central Pension Fund of the lnternational Union of Operating Engineers and
  1:19-cv-03401    Participating Employers et alv. Mercantile Property Management Group, LLC
  1:19-cv-04186    Huiv. Grand Sheraton Chicago

Civil   Cases Reassigned to Judge Pacold        from Judge Kendall

  1:13-cv-03334    Abdullah v. Harrington et al
  1:16-cv-11571    Clay Financial, LLC, et al. v. Mandell et al
  1:17-cv-05131    Cosby v. Kristel Display Solutions
  L:17-cv-08841    Florence Mussat, M.D., S.C v. IQVIA Holdings, lnc. et al
  1:18-cv-01049    Ezell v. City Of Chicago et al
  1:1"8-cv-03734   Garcia v. Dart et al
                   Trustees of The Glaziers, Architectural Metal And Glass Workers
  1:L8-cv-04885    Local Union No. 27 Welfare And Pension Funds v. Metro Glass & Mirror, lnc. et al
  1,:18-cv-06479   Duron v. Loews COH Operating Company, LLC et al
  1:18-cv-05970    Sage Vertical Gardens v. Moerings U.S.A.
  1:19-cv-00348    Shlifka v. Cook County et al
  1:19-cv-00690    Falco v. City Of Blue lsland et al
  1:19-cv-O1803    Smith v. Life lnsurance Company of North America
  1:19-cv-O1965    Trejo v. 5 Rabbit Cerveceria, lnc
  1:19-cv-02866    Avila v. Social Security Administration et al
  l:L9-cv-03776    Ankarlo et al v. City of Chicago Heights
                   Hangzhou Aoshuang E-Commerce Co., Ltd v. The Partnerships and
  1:19-cv-04555    Unincorporated Associations ldentified on Schedule "A"

Civil   Cases Reassigned to Judge Pacold        from Judge Kennelly

  1:16-cv-0733L Hudgins et al v. Total Quality Logistics, LLC
  7:!7-cv-OO279 Wert et alv; Cohn et al
  7:77-cv-O7194 Walker v. Seterus, lnc.
  1:17-cv-08508 Burton v. Chicago Transit Authority et al
  7:t8-cv-O1723 Levin et alv. Abramson
  L:L8-cv-O2327 Jones v. Pfiester et al
  1:18-cv-05283 Ray v. City of Chicago et al
  1:18-cv-05502 Dixon v. United States of America
  1:18-cv-07018 Cornejo v. Amcor Rigid Plastics USA, LLC
  7:78-cv-O7132 Galgano et al v. Foremost lnsurance Company Grand Rapids
  L:19-cv-00170 Pipe Fitters' Retirement Fund, Local 597 et al v. Carrier Corporation
  l":19-cv-02430 Dickerson v. Stateville/NRC et al
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  L:19-cv-O2972 Custom Building Products,    LLC   v. National Union Fire lnsurance Company of Pittsburgh,   Pa.
  1:19-cv-03894 Houston v. Nickolson et al
  1:19-cv-04531 Tunk v. Saul
  1:19-cv-05048 Rothschild Patent lmaging    LLC   v. Monument Labs, lnc.

Civil Cases Reassigned to Judge Pacold from Judge Kocoras
  1:16-cv-04557 Perry v. Starks et al
  1:16-cv-08044 lllinois Central Railroad Company v. Kinder Morgan LiquidsTerminals     LLC

  1:18-cv-00979 Griffin v. Demark, lnc.
  1:18-cv-02381 Absolute Machine Tools, lnc. v. GKN Aerospace, Chem-Tronics, lnc.
  1:18-cv-05684 TCF lnventory Finance, lnc. v. MBPS, lnc. et al
  1:18-cv-05843 Teamsters Local Union No. 705 v. Central Contractors Service, lnc.
  7:L8-cv-07424 Cocroft v. Lashbrook
  1:18-cv-07585 Brown v. Walgreens Boots Alliance, lnc.
  1:19-cv-00372 Wrather v. North Chicago Community Unit School District No. 187
  L:79-cv-OO723 Lawson v. Allstate lnsurance Company
  1:19-cv-01938 Durant v. Green Advocacy Partners, LLC
  L:79-cv-O2237 Bolden v. Barilla America, lnc.
  1:19-cv-03115 Johnson v. Johnson & Johnson et al
  1:19-cv-03054 Washington v. The Kroger Co.
  1:19-cv-03989 Lydon v. Fillmore Hospitality, LLC et al
  t:L9-cv-04926 Pflugradt v. Midland Credit Management lnc.

Civil   Cases Reassigned to Judge Pacold     from Judge Lee

  1:15-cv-09882 Elward et al v. Electrolux Home Products, lnc.
  1:16-cv-05780 Johnson v. Bailey et al
  L:L7-cv-02790 Lewis v. Dart et al
  L:77-cv-04177 Folkerts et alv. Seterus, lnc.
  1:18-cv-00175 Uptown Service Station, lnc. v. Arch lnsurance Company et al
  1:18-cv-00657 Lewis v. Cermak Health Services et al
  1:18-cv-02952 Prince v. Kato et al
  1:18-cv-02909 Douglas Nash, lll v. Sgt. Jack McCasland et al
  1:L8-cv-05086 Facey v. Student Loan Solutions LLC et al
  1:18-cv-07008 Cantrell v. Cook County et al
  1:19-cv-00100 Gilberto Zambrano v. Red Dot Storage et al
  1:19-cv-01614 Lazarou et al v. American Board of Psychiatry and Neurology
  L:19-cv-02851. Colbert v. Hammers
  t:79-cv-O4497 Hunter v. Chen
                   KONTROLFREEK, LLC v. The Partnerships and Unincorporated Associations
  t:t9-cv-O442O ldentified on Schedule "A"
  1:19-cv-05089 Rios v. Allied lnterstate, LLC
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Civil   Cases Reassigned to Judge Pacold    from Judge Lefkow

  1:15-cv-02180 Laborers' Pension Fund et al v. Durable Paving Co.
  1:15-cv-11362 SRAM, LLC v. Race Face Performance Products
                L:t6-cv-O5262 SRAM, LLC v. Race Face Performance Products et al
  L:L7-cv-O72L0 Wiley v. City Of Chicago et al
                   Manor Homes of Chatham Condominium Association v. Nationwide Property and
  1:18-cv-04136 Casualty lnsurance Company
  1,:18-cv-O7537 Chew v. MoneyGram lnternational, lnc. et al
  1:19-cv-00649 Ewing v. Wilkie
  L:t9-cv-O2378 Krepelka v. Equifax lnformation Services, LLC
  1:L9-cv-03300 He v. Midwest Orthopaedics at Rush, LLC

Civil   Cases Reassigned to Judge Pacold    from Judge Leinenweber

  L:16-cv-06094 The Chamberlain Group, lnc. v. Techtronic lndustries Co. Ltd. et   al
  1:16-cv-09519 Moreno et al v. DEV Medical Associates S.C
  1:17-cv-05890 Gomez v. AFNI, lnc.
  1.:L8-cv-O2475 Hannon v. City of Prospect Heights et al
  1:18-cv-06341 Earls v. Chicago Municipal Employees Credit Union et al
  1:18-cv-08202 Steffan v. Cook County Sheriff
  t:79-cv-O25O7 Beckett v. Ally Financial lnc. et al
  1:19-cv-04486 Corralv. Aerovias de Mexico, S.A. de C.V.

Civil   Cases Reassigned to Judge Pacold    from Judge Norgle

  1:15-cv-10197    Reid v. State of lllinois Department of Juvenile Justice
                   Midwest Operating Engineers Welfare Fund et alv. R&W Clark Construction, lnc.,
  1:17-cv-05815 an lllinoisCorporation
  1:17-cv-04050 Mac Naughton v. Asher Ventures, LLC. et al
  1:17-cv-09298 Larkin v. Board of Education of the City of Chicago
  1,:17-cv-O8795 Conceiveabilities v. Avila-Lee et al
  7:L7-cv-O9224 Securities And Exchange Commission v. Davis et al
  1:18-cv-02690 Kulpaka v. Target Stores
  1:L8-cv-O472O Morris v. Jones
  1:L8-cv-06575 Shorter v. City of Chicago Department of Water
  1:18-cv-07915 Wheeler Financial lnc v. JP Morgan Chase Bank, N.A. et al
                   L:19-cv-O1232 Wheeler Financial lnc v. JPMorgan Chase Bank NA; et al
                     1:19-cv-01233 Wheeler     Financial lnc. v. JPMorgan Chase Bank, N.A. et al
  1:19-cv-00522 Brock v. Varga et al
  7:L9-cv-Ot674 Chopper Trading LLC v. Allston Trading,   LLC

  1:19-cv-02680 Fields v. County of Cook et al.
  1:19-cv-03649 Brown v. Miles
                 Calvin Klein Trademark Trust et al v. The Partnerships and Unincorporated
  1,:19-cv-04365 Associations ldentified on Schedule "A"
  1:19-cv-05158 Matthews v. Saul
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Civil   Cases Reassigned to Judge Pacold         from Judge Pallmeyer

  L:09-cv-001L5    Grede v. IFX Markets, lnc et al
                       1:09-cv-00101 Grede v. Penson Financial Futures, lnc. et al
  1:17-cv-00007    Bojszuk v. Lake County Sheriff Department et al
  1:16-cv-07515    Green v. Obaisi et al
  t:L7-cv-04025    Aliv. Khan
  7:L7-cv-O5672    Beaulieu v. Cigna HealthSpring
  1:17-cv-08802    Lewis v. Cook County Bureau of Human Resources
  L:L7-cv-O9259    Leonard v. Shulkin, et al
  1:18-cv-02354    TY lNC. v. Target Corporation et al
  1:18-cv-02865    Johnson v. Edminiat Holdings et al
  1:18-cv-06650    Horlbeck v. Tillman Enterprises,   LLC
  1:18-cv-06952    Traylor v. Kim et al
                      1:18-cv-07820 Traylor v. Budde
  1:18-cv-07839    Thomas et alv. Tesla, lnc.
  1:19-cv-00891    Stewart v. Miles
  1:19-cv-O1828    Araiza v. Cook County Department of Corrections et al
  1:19-cv-03502    Power Wellness Management,         LLC   v. 440 Fitness LLC, et al
  L:L9-cv-04239    Hamilton v. Franklin Park Public Library

Civil   Cases Reassigned to Judge Pacold         from Judge Shah

  1:15-cv-00258    Castillo v. Dart et al
  1:16-cv-08074    Khan v. One West Bank F.S.B et al
  1:16-cv-11328    Manzanares v. United States of America et al
  L:77-cv-05272    Lewis v. Wexford Health Sources lnc. et al
  7:77-cv-07O92   Williams v. East-West University
  1:18-cv-01786   Tyler v. Saldivar et al
  1:18-cv-02867    Hollingsworth v. Dart et al
  1:18-cv-0493L   Glickman v. Village of Morton Grove et al
                  Catalina Holdings (Bermuda) Limited v. Jennifer Hammer, Director of lnsurance
  1:18-cv-05642   of the State of lllinois, as Liquidator of Legion lndemnity Company
  1:18-cv-06896   Signature Transportation Group, LLC et al v. Jacobs et al
  L:18-cv-07563    Miles-Cacella et al v. lnternational Fellowship of Christians and Jews
  1:19-cv-00135   Singer v. City Of Chicago et al
  1:19-cv-00660    Learning Resources, lnc. v. Playgo Toys Enterprises Ltd. et al
  1:19-cv-01660   American Highway, lnc. v. The Travelers Companies, lnc.
  L:79-cv-O2976   Cooper v. Salazar et al
  1:19-cv-03810   Songo v. Societe Air France Corporation


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  1:15-cv-10L09 Thakkar v. Ocwen Loan Servicing, LLC et al
  1:15-cv-11700 Wilson v. Nouvag USA, lnc. et al
  1:L5-cv-10838 Turbo-Mex Frefacciones, Mantenimiento Y Seguridad lndustrial, S.A. De C.V.
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  L:17-cv-O2755 Mosena v. BNSF Railway Company
                  7:77-cv-O6776 Blint v. BNSF Railway Company
  t:L7-cv-063L7 Serna et al v. United States of America et al
  1:17-cv-04393   Gehrke v. Saul
  1:18-cv-02576   Sokolova et al v. United Airlines lnc et al
  1:18-cv-02844   Golston v. Ford Motor Co.
  1:18-cv-05118   Cuellar et al v. City Of Oak Forest et al
  1:18-cv-05550    Rivianna Foods, lnc. v. Jacobson Warehouse lnc.
  1:19-cv-00018    LaSalle St. Securities et al v. Ohio National Life lnsurance Company, The et al
  1:19-cv-01284   Scaife v. Ralph Lauren
  1:19-cv-02564    Montano v. Obaisi
  1:19-cv-03406   Jasminrose, LLC et al v. Barnhardt et al
  L:79-cv-O4281   Strike 3 Holdings,   LLC   v. Doe Subscriber
  L:19-cv-O4822   Garland v. Saul

Civil   Cases Reassigned to Judge Pacold         from Judge Wood

  L:72-cv-09225 Johnson v. Perez et al
  !:L4-cv-O2705 Association of American Physicians & Surgeons, lnc. v. American Board of Medicalspecialties
  L:t4-cv-7O462 Parker v. Melvin
  1:15-cv-07928 Green v. Florez et al
  1:16-cv-00889 Stapleton v. Union Pacific Railroad Company
  1:16-cv-09415 Kormiv. Lee et al
  1:16-cv-10595 Jonesv. CBS/WBBM-TV
  L:!7-cv-O7737 Terrazzino v. Wal-mart Stores lnc
  1:L7-cv-06246 Blankenship v. The City of Joliet et al
  1:18-cv-00914 Shiba v. Nielsen
  L:18-cv-03595 Fernandez et alv. Citibank, N.A.
  1:18-cv-05606 Gresham v. Cook County, lL et al
  1:18-cv-07916 Clinical Wound Solutions, LLC v. Northwood, lnc.
  1:19-cv-00249 Klueh et al v. Paul Vallas for All Chicago
  1:19-cv-01532 McGowan v. Camp Agawak, LTD et al
  1:19-cv-04604 Glynn v. Saul




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